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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON et al.,

                       Plaintiffs,

       v.                                     No. 19-cv-1333 ABJ

DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,

                       Defendants.


                        DEFENDANTS’ SUPPLEMENTAL BRIEF
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                                        INTRODUCTION

       Defendants submit this supplemental brief pursuant to the Court’s Minute Entry of

November 18, 2019, in order to address (1) whether Plaintiffs have standing to pursue declaratory

or mandamus relief against the President; (2) whether the duties under the Presidential Records

Act (“PRA”) that Plaintiffs allege have been violated are ministerial or official/executive, and

whether that distinction matters to determine whether the Court can issue a declaratory judgment

against the President; and (3) whether Plaintiffs’ alleged injuries would be sufficiently redressed

by issuing the requested remedies against the Executive Office of the President (“EOP”). As an

initial matter, these issues are subsumed within the D.C. Circuit’s prior holding in Armstrong v.

Bush (“Armstrong I”), 924 F.2d 282 (D.C. Cir. 1991), that the President’s “records creation,

management, and disposal decisions” are not subject to judicial review. Id. at 290-91. That holding

requires dismissal of Plaintiffs’ claims at the outset for lack of mandamus jurisdiction. It therefore

renders Plaintiffs’ claims unredressable, depriving Plaintiffs of standing, and precludes their

claims for mandamus and declaratory relief.

       Aside from Armstrong, which applies here because Plaintiffs’ claims allege violations of

the PRA, mandamus and declaratory relief against the President is broadly unavailable even

outside the PRA context. The general unavailability of such relief against the President also makes

Plaintiffs’ claims unredressable and thus provides another basis for concluding that Plaintiffs lack

standing. Indeed, the lack of jurisdiction to issue mandamus relief against the President by itself

means that declaratory relief—which would depend on the availability of a private right of action

under the Mandamus Act—is also precluded. In addition, the President’s responsibilities under the

PRA require the exercise of executive discretion and thus are not purely ministerial—another

reason relief is unavailable. Finally, issuing relief against EOP, the Executive Office of the
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President, rather than against the President himself, is not available here as an alternative avenue

of redress that could confer standing. Because EOP has no statutorily-defined role with respect to

the President’s responsibilities under the PRA, its role derives solely from the President himself.

Relief against EOP thus would implicate the same separation of powers concerns that prevent

direct relief against the President. Plaintiffs’ claims should be dismissed for lack of jurisdiction,

whether because they are precluded under Armstrong, or because Plaintiffs lack standing.

                                          ARGUMENT

I.     THE PRA’S BAR ON JUDICIAL REVIEW MAKES PLAINTIFFS’ CLAIMS
       UNREDRESSABLE AND APPLIES REGARDLESS OF THE NATURE OF THE
       ALLEGED DUTIES INVOLVED AND REGARDLESS OF THE IDENTITY OF
       THE DEFENDANT

       The D.C. Circuit in Armstrong I and II recognized that judicial review of the President’s

compliance with the PRA is precluded and that this bar specifically encompasses the President’s

adherence to 44 U.S.C. § 2203 in his “records creation, management, and disposal decisions.” See

Armstrong I, 924 F.2d at 290-91; Armstrong v. Exec. Office of the President (“Armstrong II”), 1

F.3d 1274, 1294 (D.C. Cir. 1993). Accordingly, as discussed in Defendants’ prior briefing,

Plaintiffs’ claims here are barred in their entirety, whether they are framed as claims for mandamus

or declaratory relief, or purport to arise under the Take Care Clause. See Def. Mem. [ECF 11-1] at

11-21, 26-29; Def. Reply [ECF 20] at 1-10, 18-20. The import of the Armstrong decisions is that

the PRA not only fails to provide a private right of action itself, but it also impliedly precludes

judicial review altogether. See Armstrong I, 924 F.2d at 290. This preclusion necessarily overrides

any otherwise generally-available private right of action, including any claim for mandamus relief.

See CREW v. Trump, 924 F.3d 602, 608 (D.C. Cir. 2019) (recognizing Armstrong’s bar as an

“obstacle to mandamus relief”); id. at 609 (recognizing the bar on judicial review in Armstrong I

as one factor “establish[ing] that CREW has no ‘clear and indisputable right to [mandamus]


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relief’”). Any contrary conclusion “would upset the intricate statutory scheme Congress carefully

drafted to keep in equipoise important competing political and constitutional concerns,” and in

particular its “assiduous[] [effort] to minimize outside interference with the day-to-day operations

of the President and his closest advisors and to ensure executive branch control over presidential

records during the President’s term in office”—the very concerns emphasized in Armstrong I.

Armstrong I, 924 F.2d at 290.

       The applicability of Armstrong serves to answer the Court’s questions at the outset.

Because Plaintiffs’ claims are unreviewable, they are also, necessarily, unredressable. Plaintiffs

therefore lack standing. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)

(identifying redressability as the third required element of standing, in addition to an injury-in-fact

and a “causal connection between the injury and the conduct complained of”). The distinction

between ministerial and discretionary duties has no bearing on Armstrong’s applicability.

Moreover, the Armstrong bar applies equally to Plaintiffs’ claims against EOP. See Armstrong I,

924 F.2d at 290 (applying bar to PRA-based claims against the National Security Council

(“NSC”)—an EOP component—as well as to those against President). Because Plaintiffs’ claims

are precluded in their entirety, the Court need not separately address the three issues identified in

its Minute Order of November 18, 2019.

       Nevertheless, as discussed below, should the Court address these issues without regard to

Armstrong, it should similarly conclude that Plaintiffs’ claims are precluded because (1) Plaintiffs

lack standing to pursue declaratory or mandamus relief against the President; (2) the duties that

Plaintiffs seek to enforce are official/executive in nature, and declaratory relief is in any event

unavailable; and (3) Plaintiffs’ injuries cannot be redressed by issuing remedies against EOP.




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II.     EVEN ASIDE FROM THE PRA BAR, PLAINTIFFS’ CLAIMS FOR MANDAMUS
        AND DECLARATORY RELIEF ARE NOT REDRESSABLE

        A.      Plaintiffs Lack Standing To Seek Declaratory or Mandamus Relief Against the
                President

        Defendants explained in prior briefing that—even aside from the specific context of this

case, in which the claims at issue allege violations of the PRA—mandamus relief against the

President is unavailable. See Def. Mem. at 25 (citing Newdow v. Roberts, 603 F.3d 1002, 1013

(D.C. Cir. 2010)). This prohibition stems from the separation of powers concerns implicated by

“‘order[ing] [the President] to perform particular executive . . . acts at the behest of the Judiciary.’”

Swan v. Clinton, 100 F.3d 973, 978 (D.C. Cir. 1996) (quoting Franklin v. Massachusetts, 505 U.S.

788, 827 (1992) (Scalia, J., concurring in part and concurring in the judgment)). In Newdow, the

D.C. Circuit held that the plaintiffs lacked standing to seek declaratory and injunctive relief that

would prohibit the inclusion of religious elements in future presidential inaugurations. Newdow,

603 F.3d at 1006. The court concluded that the plaintiffs’ asserted injuries were not redressable

because the “only apparent avenue of redress for plaintiffs’ claimed injuries would be injunctive

or declaratory relief against all possible President-elects and the President himself.” Id. at 1013.

The court further explained that “courts do not have jurisdiction to enjoin [the President], and have

never submitted the President to declaratory relief.” Id. (citing Mississippi v. Johnson, 71 U.S. (4

Wall.) 475, 501 (1866), and Franklin, 505 U.S. at 827-28 (Scalia, J., concurring)). The court

stressed that a “court—whether via injunctive or declaratory relief—does not sit in judgment of a

President’s executive decisions.” Id. at 1012.

        This case presents a situation similar to that in Newdow. Plaintiffs seek declaratory and

injunctive relief related to their claims that the President does not properly create or maintain

records of his meetings with foreign leaders. See Compl. ¶¶ 72-106 & Prayer for Relief (pp. 37-

39). In particular, they ask the Court to declare that the President has acted in violation of the PRA
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and to compel the President to comply with the PRA. See id. Because, as the court in Newdow

explained, such relief against the President is unavailable, however, Newdow, 603 F.3d at 1013,

Plaintiffs’ claims are not redressable, and Plaintiffs therefore lack standing.

       B.      Declaratory Relief Against the President Is Unavailable Absent Mandamus
               Jurisdiction, Regardless of Whether PRA Duties Are Ministerial or Executive

       For the same reasons that the Court cannot subject the President to mandamus, the Court

also cannot issue declaratory relief against the President. Prior to the Supreme Court’s decision in

Franklin, the D.C. Circuit in Nat’l Treasury Employees Union v. Nixon, 492 F.2d 587 (D.C. Cir.

1974) (“NTEU”), had concluded that very limited relief might be ordered against the President in

the form of a declaratory judgment that a “ministerial” act was required—there, that the President

had a duty to implement a federal pay increase mandated by Congress. Id. at 616. However, after

Franklin, the D.C. Circuit has “expressly cast doubt on any remaining viability” of such relief.

Lovitky v. Trump, No. 19-cv-1454, 2019 WL 306844, at *9 (D.D.C. July 12, 2019), appeal

pending, No. 19-5199 (D.C. Cir.) (explaining that “[w]hatever window that NTEU may have

opened in this Circuit began to close with the Supreme Court’s opinions in Franklin”). In Swan v.

Clinton, the court recognized that “similar considerations” called into question the availability of

either mandamus or declaratory relief against the President. Swan, 100 F.3d at 976 n.1; cf.

Franklin, 505 U.S. at 827 (Scalia, J., concurring) (“For similar reasons, I think we cannot issue a

declaratory judgment against the President.”).

       Well settled law regarding the availability of declaratory relief shows that the lack of

mandamus jurisdiction also requires the conclusion that declaratory relief is unavailable. As

explained in prior briefing, the Declaratory Judgment Act does not confer jurisdiction or provide

a private right of action, so it cannot be invoked on its own. See Def. Mem. at 26-27 (citing Skelly

Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671 (1950); Ali v. Rumsfeld, 649 F.3d 762, 778

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(D.C. Cir. 2011)). The court’s express recognition in Newdow that “courts do not have jurisdiction

to enjoin” the President, Newdow, 603 F.3d at 1013, thus requires the conclusion that declaratory

relief is also unavailable. Indeed, the D.C. Circuit in NTEU had also recognized that the availability

of declaratory relief depended on the court’s mandamus jurisdiction. Cf. NTEU, 492 F.2d at 616.

The difference in NTEU was that the court there declined to grant mandamus relief as a matter of

discretion. See id. Now that Franklin and later D.C. Circuit cases have recognized that mandamus

jurisdiction does not lie against the President at all, no declaratory relief is available either.

        Even if Newdow did not altogether preclude declaratory relief against the President, it

clearly did so with respect to any responsibilities that qualify as “executive” or “discretionary.” 1

The court in Newdow distinguished Clinton v. City of New York, 524 U.S. 417 (1998), where the

Court held that the traceability and redressability prongs of standing were satisfied, because that

case raised a challenge to the constitutionality of a statute—the Line Item Veto Act. Newdow, 603

F.3d at 1012. The declaratory relief that the court in Clinton deemed available was not a judgment

against the President; rather, the court simply “struck down that statute,” which removed any

statutory power for the President to exercise. See id. Unlike Clinton, the Newdow case challenged

“a decision committed to the executive discretion of the President or the personal discretion of the

President-elect”—namely, whether to include certain religious elements in the inaugural

ceremony. See id. The court held that declaratory relief addressing such decisions by the President

was precluded. Id.

        The bar on interference with the President’s official responsibilities goes back at least to




1
  Indeed, even if the Court had mandamus jurisdiction, such jurisdiction is necessarily limited to
ministerial acts. See 13th Reg’l Corp. v. U.S. Dep’t of Interior, 654 F.2d 758, 760 (D.C. Cir. 1980)
(the “clear duty to act” for purposes of mandamus jurisdiction must be “ministerial and the
obligation to act peremptory, and clearly defined” (internal quotation omitted)).
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Mississippi v. Johnson, where the Supreme Court distinguished the “purely executive and

political” duties that a President carries out as commander-in-chief, which the Court identified as

“discretionary,” from the “ministerial” duty imposed on a subordinate official that was at issue in

Marbury v. Madison, 5 U.S. (1 Cranch.) 137 (1803). Johnson, 71 U.S. at 478, 498-99. The Court

held that the judiciary should not interfere in the President’s performance of such executive or

discretionary actions. See id. at 499-500. At the same time, the Court did not suggest that it could

appropriately compel the President to undertake a “ministerial” action either; rather, it called into

question whether any action of the President could be deemed “ministerial.” See id. at 499

(recognizing that where the President is responsible for supervising subordinates’ performance of

their duties, the President’s duty is necessarily “executive and political” rather than “ministerial”).

Johnson therefore leads back to the conclusion that declaratory relief against the President is

entirely unavailable.

       To the extent the distinction does matter, any declaratory relief against the President here

would still be precluded because, as discussed in prior briefing, the recordkeeping responsibilities

that the PRA confers upon the President are not ministerial duties. Def. Mem. at 24-25. “A duty

qualifies as ministerial when it is ‘so plainly prescribed as to be free from doubt and equivalent to

a positive command.’” Lovitky, 2019 WL 3068344, at *12 (quoting Consol. Edison Co. v. Ashcroft,

286 F.3d 600, 605 (D.C. Cir. 2002)). “A ministerial duty is ‘simple,’ ‘definite,’ and leaves ‘no

room for the exercise of judgment.’” Id. (quoting NTEU, 492 F.2d at 607-08). The PRA directs

the President to “take all such steps as may be necessary” to assure that his official activities are

“adequately documented” and “maintained” in accord with the law. 44 U.S.C. § 2203(a). Nothing

about this obligation is ministerial. Rather, the President’s discretionary judgment is required to

determine what documentation would be “adequate,” and what steps will be “necessary,” in a



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particular circumstance. Cf. Lovitky, 2019 WL 3068344, at *13 (holding statutory requirement to

include a “full and complete statement” of financial liabilities did not impose a ministerial

requirement to distinguish personal from non-personal business liabilities). When it comes to the

President’s meetings with foreign leaders, the President’s exercise of such judgment necessarily

must take into account factors beyond recordkeeping itself, such as the President’s power “to speak

and bargain effectively with other nations,” and thus to determine what kind of meeting would be

best for that purpose. See Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 382 (2000). Such

factors could affect decisions regarding the timing of documentation, or the choice of who will

implement the recordkeeping responsibility. The President’s responsibility in this area is similar

to that recognized as discretionary in Newdow, and declaratory relief against the President with

respect to such a responsibility is similarly barred.

        C.      Relief Against EOP Is Also Unavailable

        Courts in some other cases have allowed claims to proceed based on a determination that

relief issued against a subordinate official might redress the plaintiff’s injury, but such relief is not

available here. In Franklin, the plurality concluded that the plaintiffs’ challenge to the

implementation of the census was likely redressable by relief against the Commerce Secretary,

who, in the words of the Newdow court, “was obligated by statute to provide the President with a

report of the nation’s total population[,] which the President consults before sending his own

statutorily required report to Congress showing the population of each state for purposes of

apportioning the number of representatives in the House of Representatives.” Newdow, 603 F.3d

at 1013 (citing Franklin, 505 U.S. at 799). As the Newdow court further explained, “the Commerce

Secretary was legally responsible for providing the President with advice and information on

which he would base his final decision,” and accordingly, “a plurality of the Supreme Court



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thought declaratory relief applicable to the Secretary’s legal duty would make it ‘likely’ the

President would take the action desired by the plaintiffs, even if he was not obligated to do so.”

Id. (citing Franklin, 505 U.S. at 803 (plurality)). 2 In Swan, the D.C. Circuit held that relief

requiring members of the Board of the National Credit Union Association (“NCUA”) to treat a

removed member as if he were still part of the Board could provide “de facto” relief. Swan, 100

F.3d at 980.

       Here, although Plaintiffs have named EOP as a defendant in addition to the President, the

injuries that Plaintiffs assert largely focus specifically on the President’s own conduct and

decisions in regard to his meetings with foreign leaders. See generally Compl. Moreover, Plaintiffs

fail to identify any separate distinct role, much less any statutory role, of the EOP when it comes

to the President’s compliance with the PRA. Rather, EOP employees presumably take whatever

action the President has assigned to them, based on their overall role to advise and assist the

President. 3 The EOP’s position is thus significantly different from those of the Commerce

Secretary in Franklin, or the NCUA Board in Swan, both of which had specific, statutorily-defined

key roles in the matter at issue in the case. In this case, the Court would not be directing EOP to

carry out its own statutorily-defined duties but instead would be directing EOP to carry out the

President’s responsibilities—regardless of the President’s views of what PRA compliance entails



2
  Justice Scalia disagreed with this assessment. See Franklin, 505 U.S. at 824 (Scalia, J., concurring
in part) (“I do not think that for purposes of the Article III redressability requirement we are ever
entitled to assume, no matter how objectively reasonable the assumption may be, that the President
. . . in performing a function that is not wholly ministerial, will follow the advice of a subordinate
official. The decision is by Constitution or law conferred upon him, and I think we are precluded
from saying that it is, in practical effect, the decision of someone else.”).
3
  The only EOP component that Plaintiffs specifically identify in their Complaint is the NSC.
Compl. ¶¶ 64, 66. The D.C. Circuit has recognized that the NSC “exercises no authority of its
own” but merely acts in an advisory capacity at the President’s direction. Armstrong v. EOP
(“Armstrong III”), 90 F.3d 553, 561 (D.C. Cir. 1996).
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in a particular circumstance. The Court’s issuance of mandamus or declaratory relief against

EOP—which includes the President’s closest advisers, such as those in the White House Office—

as a means of controlling the President’s conduct thus would raise the same separation of powers

issues implicated by relief against the President himself. Plaintiffs therefore lack standing to assert

their claims against EOP for the same reasons they lack standing to sue the President. 4

                                          CONCLUSION

       For the foregoing reasons and those set forth in Defendant’s prior briefing, the Court should

dismiss Plaintiffs’ claims in their entirety, with prejudice.

Dated: December 5, 2019                        Respectfully submitted,

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4
 Plaintiffs also lack standing to assert their claims against EOP because they have not identified
any injury fairly traceable to any action of EOP. To the contrary, EOP policy clearly requires
compliance with the PRA. See CREW v. Trump, 924 F.3d. at 607 (recognizing that a 2017 White
House memo does “just what the PRA requires” in directing White House personnel to preserve
and maintain Presidential records).
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